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EXHIBIT B
Complaint to Trans Union, LLC
 

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DR 07/27/2021 (003C47) 178.120611.11007932

IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY PENNSYLVANIA

AMANDA PAPE-COOPER, CIVIL DIVISION
Plaintiff, ELECTRONICALLY FILED
VS. Case No. GD-21-00577]

T.D. BANK USA, N.A.,
Defendant,
and,

TRANSUNION, LLC

Defendant.

COMPLAINT IN CIVIL ACTION

 

AND NOW, comes Plaintiff, Amanda Pape-Cooper, by and through the undersigned
counsel, J.P. Ward & Associates, LLC and, specifically, Joshua P. Ward, Esquire, who files the
within Complaint in Civil Action against Defendant, T.D. Bank USA, N.A., and Defendant,
TransUnion, LLC, of which the following is a statement:

PARTIES

 

1. Plaintiff, Amanda Pape-Cooper (hereinafter “Amanda Pape-Cooper”), is an adult
individual who currently resides at1585 Hillcrest Ave., Washington, PA 15301. |

2. Defendant, T.D. Bank USA, N.A., (hereinafter “TD Bank”), is a corporation with
its principal place of business located at 7000 Target Parkway North, MS-NCB-0464, Brooklyn

Park, Minnesota 55445.

 

 

 
 

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3, Defendant TransUnion, LLC (“TransUnion”), is a corporate entity that regularly
conducts business in the Western District of Pennsylvania and has a principal place of business at

555 West Adams Street, Chicago, Illinois 60661.

JURISDICTION AND VENUE
4, Jurisdiction is proper as Plaintiff brings this lawsuit under the Fair Credit Reporting
Act (“FCRA”), 15 U.S.C. § 1681, ef seg. |
5. Venue is proper pursuant to Pa.R.C.P. 2179(a)(2) because Defendants regularly
conduct business in Allegheny County, Pennsylvania, and because Defendants are subject to

general jurisdiction of Allegheny County, Pennsylvania.

PROCEDURAL HISTORY AND FACTUAL ALLEGATIONS

6. On April 12, 2019, TD Bank, filed a Civil Complaint against Amanda Pape-Cooper
in Magisterial District Court at Docket Number: MJ-27305-cv-0000099-2019. A true and correct
copy of the Docket is attached hereto, made a part hereof, and marked as Exhibit “A”. |

7. In response to the aforesaid lawsuit, Amanda Pape-Cooper engaged The Law Firm
of Fenters Ward for representation. |

8. On May 8, 2019, The Law Firm of Fenters Ward served TD Bank with a letter,
(hereinafter, the “First Dispute Letter”) wherein TD Bank was informed of the disputed nature
regarding the alleged debt and that Amanda Pape-Cooper was represented by counsel. A true and

correct copy of the First Dispute Letter is attached hereto, made a part hereof, and marked as

Exhibit “B”.

 

 
 

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9. This First Dispute Letter stated that Amanda Pape-Cooper “denie[d] owing TD
Bank any amount of money” and informed TD Bank that Amanda Pape-Cooper disputed any and
all “Debts” TD Bank claimed to possess. See Exhibit “B”.

10. “Debts” as defined within the First Dispute Letter delineated and included “any
related debt(s) and/or credit account(s) your company [T.D. Bank USA] claims to have, sold,
purchased and/or assigned from yourself, another creditor, debt buyer or other entity as of the date
of this letter. See Exhibit “B”. |

11. Therefore, Amanda Pape-Cooper informed TD Bank of her dispute with the
validity of any obligation allegedly owed to TD Bank.

12. The First Dispute Letter further demanded “proof of liability, accounting and
ownership of these alleged accounts” and delineated “the proof shall include any agreements and
amended thereto, any other written or signed documents agreed to by my client, as well as, a
complete history of billing statements reflecting how you calculated the current amount claimed,
owed, reported to the collection and/or credit agencies and complete copies of any assignment
documentation evidencing your ownership rights to the specific accounts.” See Exhibit “B”.

13. TD Bank subsequently failed to provide any of the requested documentation to
verify any alleged debts. |

14, On May 8, 2019, The Law Firm of Fenters Ward filed an Entry of Appearance and
an Intent to Defend on Amanda Pape-Cooper’s behalf. True and correct copies of the Entry of
Appearance and Notice of Intent to Defend are attached hereto, made a part hereof, and marked as
Exhibit “C”. |

15. On June 6, 2019, a Civil Action Hearing was held before the Honorable David

Mark, Magisterial District Judge. See Exhibit “A”.

 

 
 

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16. On June 6, 2019, at the conclusion of the Civil Action hearing, Judge David Mark
granted a JUDGMENT FOR PLAINTIFF. A true and correct copy of the Judgment is attached
hereto, made a part hereof, and marked as Exhibit “D”.

17, On June 10, 2019, The Law Firm of Fenters Ward timely appealed the Magisterial
District Court’s judgment in the Court of Common Pleas of Washington County at docket number
2019-2795. A true and correct copy of the Notice of Appeal is attached hereto, made a part hereof,
and marked as Exhibit “E”. |

18. On May 19, 2020, upon TD Bank’s failure to file an Amended Complaint, Amanda
Pape-Cooper filed a Praecipe to Dismiss with Prejudice. A true and correct copy of the Praecipe
is attached hereto, made a part hereof, and marked as Exhibit “F”.

19, On May 28, 2020, The Law Firm of Fenters Ward sent documentation to Equifax,
Experian, and TransUnion regarding the trade line associated with the alleged debt relevant to the
Magisterial District Judge and Court of Common Pleas of Allegheny County proceedings debt
disputing the validity of said debt. True and correct copies of the documentation, (hereinafter, the
“Notice of Disputed Trade Line Letters”) are attached hereto, made a part hereof, and marked as
Exhibit “G”. |

20. These Notice of Disputed Trade Line Letters referenced “Amanda Pape-Cooper”,
the alleged account number associated with the alleged and disputed trade line, the alleged amount,
as well as personal information belonging to Amanda Pape-Cooper. See Exhibit “G”. |

21. The Notice of Disputed Trade Line Letters explicitly stated “THIS LETTER
SHALL SERVE AS FORMAL NOTIFICATION OF THE CONSUMER’S DISPUTE OF THE
ASSOCIATED TRADE LINE REFERENCED IN THE SUBJECT LINE HEREINABOVE.” See

Exhibit “G”.

 

 
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22. The Notice of Disputed Trade Line Letter further explicitly stated, in reference to
the First Dispute Letter, “WE HAVE NOTIFIED THE CREDITOR AND/OR FURNISHER OF
THIJS DISPUTE NOTICE, AND HAVE DISPUTED THE VALIDITY OF THE OBLIGATION
IN ITS ENTIRETY WITH THE FURNISHER/CREDITOR.” See Exhibit “G”.

23. Furthermore, the Notice of Disputed Trade Line Letters stated “KINDLY NOTIFY
JHE FURNISHER OF THE CONSUMER’S DISPUTE PURSUANT TO 15 U.S.C. §
1681i(A)}(2).” See Exhibit “G”. |

24. The abovementioned language contained within the Notice of Disputed Trade Line
Letters possessed sufficient information and language to trigger a credit reporting agency's duties
to notify the furnisher of the dispute under 15 U.S.C. § 1681i(a)(2). |

25. Furthermore, the Notice of Disputed Trade Line Letters possessed sufficient
information for a furnisher to investigate and report the disputed nature of the trade line under 15
U.S.C. § 1681s-2b. |

26. Upon information and belief, TransUnion received the abovementioned Notice of
Dispute. |

27. TransUnion therefore possessed a duty to conduct a reasonable reinvestigation of
the information contained in Amanda Pape-Cooper’s file under 15 U.S.C. § 1681i(a)(1) of the
FCRA.

28. TransUnion further possessed a duty to provide notification of said dispute to TD
Bank pursuant to its statutory duties contained within 15 U.S.C. § 168 1i(a)(2) of the FCRA.

29. On June 27, 2020, TD Bank willfully caused false and inaccurate information about

Amanda Pape-Cooper to be furnished to Transunion when TD Bank reported the tradeline

associated with the alleged and disputed debt as “Pay Status: >Charged Off<” in violation of §

 

 
 

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1681s-2b(1)(E)(1) of the FCRA. A true and correct copy of the trade line is attached hereto, made
a part hereof, and marked as Exhibit “H”. |

30. | TD Bank owed Amanda Pape-Cooper a duty to modify the trade line to reflect the
disputed status of the alleged and disputed account and failure to do so violated § 1681s-
2(b)(E)(1)() of the FCRA. This failure comes after a notification of its duty to do so under §1681s-
2(b)(1). |

31. | Upon information and belief, TD Bank’s failure to modify the trade line to reflect
its disputed nature comes after a failure to undertake a reasonable investigation regarding Amanda
Pape-Cooper’s dispute. |

32. Upon information and belief, had TD Bank reasonably investigated Amanda Pape-
Cooper’s dispute, TD Bank would have reviewed the First Dispute Letter and would possess the
Notice of Dispute of Trade Line Letters Amanda Pape-Cooper mailed to Equifax, Experian, and
TransUnion. |

33. These letters each explicitly state that Amanda Pape-Cooper disputed the alleged
debt and the validity of the alleged obligation in the entirety. See Exhibits “B” and “G”. !

34. Therefore, TD Bank possessed sufficient information of Amanda Pape-Cooper’s

specific dispute of the alleged debt. See Exhibits “B” and “G”.

 

35. The Third Circuit has found “‘inaccurate’ information, in the FCRA context, refers
to information that either is factually incorrect or creates a misleading impression. Hillis v. Trans
Union, LLC, 969 F.Supp.2d 419, 421 (E.D.Pa.,2013)

36. | TD Bank subsequently failed to mark the trade line associated with the alleged and
disputed debt as “disputed”, despite possessing sufficient information to do so, and therefore

published inaccurate and incorrect information concerning the abovementioned tradeline.

 
 

 

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37. It logically follows TD Bank failed to conduct a reasonable investigation into
Amanda Pape-Cooper’s dispute with the abovementioned trade line given the ample evidence
available to TD Bank sufficient to draw the conclusion that Amanda Pape-Cooper disputed the
validity of the alleged debt thereby necessitating a reporting of “disputed” on the trade line
associated with the alleged and disputed debt. |

38. | Amanda Pape-Cooper sufficiently “disputed” the alleged debt upon providing
notice of said dispute to TD Bank itself and to Equifax, Experian, and TransUnion in the
abovementioned Notices of Dispute Letters. See Exhibit “G”. |

39. The language contained within the Notice of Disputed Trade Line Letters possessed
sufficient information to trigger a credit reporting agency’s duties under 15 U.S.C. § 16811(a)(2)
and subsequently a furnisher’s duty to investigate under 15 U.S.C. § 1681s-2b of the FCRA. See
Exhibit “G”. Upon information and belief, TransUnion provided TD Bank with notice of said
dispute.

40. TD Bank failed to report the disputed nature of the trade line associated with the
alleged and disputed debt at any point in time following Amanda Pape-Cooper’s Notice of Dispute
of Trade Line notification. See Exhibit “H”. |

41. Therefore, TD Bank published patently incorrect and therefore inaccurate and
incomplete information as the trade line associated with the alleged and disputed debt did not
reflect its “disputed” nature following Amanda Pape-Cooper’s dispute. See Exhibit “H”.

42. TD Bank owed Amanda Pape-Cooper a duty to modify the trade line to reflect the
disputed status of the alleged and disputed account and failure to do so violated § 1681s-2(b)(E)(1)

of the FCRA. See Exhibit “H”.

 

 
 

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43. TD Bank willfully caused false and inaccurate information about Amanda Pape-
~ Cooper to be furnished to Transunion when TD Bank failed to remove the trade line pertaining to

the alleged and extinguished debt: in violation of § 1681s-2(b)(1)(E)(ii) of the FCRA. See Exhibit

eETe
COUNT I
VIOLATIONS OF THE FCRA, 15 U.S.C. § 1681, et seq.
AMANDA PAPE-COOPER vs. TD BANK
44. Plaintiff incorporates the allegations contained in the paragraphs, above, as if fully
set forth at length herein. |

45. Amanda Pape-Cooper is a “consumer” as defined by § 168la(c) of the FCRA. 15
U.S.C. § 1681a(c). |

46. T.D. Bank are “persons” as defined by § 168la(b) of the FCRA. 15 U.S.C. §
1681 a(b).

47, Section 1681s-2(b)(1) of the FCRA provides:

After receiving notice pursuant to section 1681 i(a)(2) of this title of .
a dispute with regard to the completeness or accuracy of any i
information provided by a person to a consumer reporting agency, |
the person shall:

(A) conduct an investigation with respect to the disputed
information;

(B) review all relevant information provided by the consumer
reporting agency pursuant to section 1681i(a)(2) of this title;

(C) report the results of the investigation to the consumer reporting
agency;

(D) if the investigation finds that the information is incomplete or
inaccurate, report those results to all other consumer reporting
agencies to which the person furnished the information and that
compile and maintain files on consumers on a nationwide basis; and
(E) if an item of information disputed by a consumer is found to be
inaccurate or incomplete or cannot be verified after any
reinvestigation under paragraph (1), for purposes of reporting to a
consumer reporting agency only, as appropriate, based on the results
of the reinvestigation promptly --

 

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(i) modify that item of information;
(ii) delete that item of information; or
(iii) permanently block the reporting of that item of information.

15 U.S.C. § 1681s-2(b)1 of the FCRA.

 

48. On May 8, 2019, The Law Firm of Fenters Ward served TD Bank with the First
Dispute Letter whereby TD Bank was informed of Amanda Pape-Cooper’s dispute with the
validity of any obligation allegedly owed to TD Bank. See Exhibit “B”. |

49, On May 28, 2020, The Law Firm of Fenters Ward sent Notices of Dispute of Trade
Line Letters to Equifax, Experian, and TransUnion regarding the trade line associated with the
aforementioned alleged and disputed debt. See Exhibit “G”.

50. Upon information and belief, TransUnion received the Notice of Dispute of Trade
Line Letter and subsequently notified TD Bank of Amanda Pape-Cooper’s dispute of the relevant
trade line. |

51. These Notice of Disputed Trade Line Letters referenced “Amanda Pape-Cooper”,
the alleged account number associated with the disputed trade line, the alleged amount, as well as
personal information belonging to Amanda Pape-Cooper. See Exhibit “G”.

52. The Notice of Disputed Trade Line Letters explicitly stated “THIS LETTER
SHALL SERVE AS FORMAL NOTIFICATION OF THE CONSUMER’S DISPUTE OF THE
ASSOCIATED TRADE LINE REFERENCED IN THE SUBJECT LINE HEREINABOVE.” See
Exhibit “G”. |

53. Furthermore, the Notice of Disputed Trade Line Letters stated “KINDLY NOTIFY
THE FURNISHER OF THE CONSUMER’S DISPUTE PURSUANT TO 15 U.S.C. §
1681i(A)(2).” See Exhibit “G”, |

54. These Notices of Dispute of Trade Line Letters possessed sufficient information

necessary for TD Bank to identify the trade line Amanda Pape-Cooper disputed.

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55. Upon information and belief, TD Bank failed to conduct a reasonable investigation
into Amanda Pape-Cooper’s dispute as TD Bank failed to report the disputed nature of the trade
line as delineated above. See Exhibit “H”. |

56. TD Bank possessed a duty under § 1681s-2b(1)(E)(i) to modify the trade line on
TransUnion associated with the alleged and disputed debt to reflect its disputed nature.

57. TD Bank failed to reflect the disputed nature of the trade line associated with the
alleged and disputed debt and accordingly violated § 1681s-2b(1)(E)@) of the FCRA. |

58, Further, TD Bank failed to delete the trade line associated with the alleged and

extinguished debt upon its extinguishment and unenforceability and failure to do so violated §

 

1681s-b(1)(E)(ii). This failure comes after a notification of its duty to do so under § 1681i(a){2).
59. Therefore, TD Bank USA willfully caused false and inaccurate information about
Amanda Pape-Cooper to be furnished to Transunion when TD Bank reported the alleged and
disputed debt as “Pay Status: >Charged Off<” in violation of § 1681s-2b(1)(i) of the FCRA. See
Exhibit “H”.
60. Section 168]n(a) of the FCRA provides:

Any person who willfully fails to comply with any requirement
imposed under this subchapter with respect to any consumer is fiable
to that consumer in an amount equal to the sum of--(1)(A) any actual
damages sustained by the consumer as a result of the failure or
damages of not less than $100 and not more than $1,000; or (B) in
the case of liability of a natural person for obtaining a consumer
report under false pretenses or knowingly without a permissible
purpose, actual damages sustained by the consumer as a result of the
failure or $1,000, whichever is greater;

(2) such amount of punitive damages as the court may allow; and
(3) in the case of any successful action to enforce any liability under
this section, the costs of the action together with reasonable
attorney's fees as determined by the court.

 

15 U.S.C. § 1681n(a) of the FCRA.

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61. As a direct and proximate result of TD Bank’s violations of § 1681s-2(b)(1)(E) of
the FCRA, Amanda Pape-Cooper has suffered annoyance, anxiety, embarrassment, emotional
distress, and severe inconvenience. |

WHEREFORE, Plaintiff, Amanda Pape~Cooper, respectfully requests that this Honorable
Court enter judgment in their favor and against Defendant, T.D. Bank USA, N.A., and enter an
award of monetary damages as described herein, including an award for actual damages, statutory
damages pursuant to 15 U.S.C. § 1681n(a), costs and attorney’s fees pursuant to 15 U.S.C. §
1681n(a), and such other and further relief as this Honorable Court deems just and proper!

COUNT I
VIOLATIONS OF THE FCRA, 15 U.S.C. § 1681, et seq.
AMANDA PAPE-COOPER vs. TRANSUNION
pled in the alternative

62. Plaintiff incorporates the allegations contained in the paragraphs, above, as if fully
set forth at length herein. |

63. TransUnion is a consumer reporting agency as defined by 15 U.S.C. § 1681acf) of
the FCRA.

64. Section 15 U.S.C. § 1681(i)(a) of the FCRA provides:

(2) Prompt notice of dispute to furnisher of information —

(A) In general.--Before the expiration of the 5-business-day period
beginning on the date on which a consumer reporting agency
receives notice of a dispute from any consumer or a reseller in
accordance with paragraph (1), the agency shall provide notification
of the dispute to any person who provided any item of information
in dispute, at the address and in the manner established with the
person. The notice shall include all relevant information regarding
the dispute that the agency has received from the consumer or
reseller.

(B) Provision of other information.--The consumer reporting agency
shall promptly provide to the person who provided

the information in dispute all relevant information regarding the
dispute that is received by the agency from the consumer or

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the reseller after the period referred to in subparagraph (A) and
before the end of the period referred to in paragraph (1)(A).

15 U.S.C. § 1681(i)(a) of the FCRA.

65. On May 28, 2020, Amanda Pape-Cooper furnished TransUnion with
documentation delineating a dispute with the These Notice of Disputed Trade Line Letters
referenced “Amanda Pape-Cooper’”, the alleged account number associated with the disputed trade
line, the alleged amount, as well as personal information belonging to Amanda Pape-Cooper. See
Exhibit “G”,

66. The Notice of Disputed Trade Line Letters explicitly stated “THIS LETTER
SHALL SERVE AS FORMAL NOTIFICATION OF THE CONSUMER’S DISPUTE OF THE
ASSOCIATED TRADE LINE REFERENCED IN THE SUBJECT LINE HEREINABOVE.” See
Exhibit “G”. |

67. Furthermore, the Notice of Disputed Trade Line Letters stated “KINDLY NOTIFY
THE FURNISHER OF THE CONSUMER’S DISPUTE PURSUANT TO 15 U.S.C. §
1681i(A)(2).” See Exhibit “G”. | |

68. Following the abovementioned Notices of Dispute of Trade Line Letters possessed
TransUnion possessed a duty to provide TD Bank with notice of Amanda Pape-Cooper’s dispute
with the alleged and disputed tradeline. |

69. TransUnion therefore possessed a duty to conduct a reasonable reinvestigation of
the information contained in Amanda Pape-Cooper’s file under 15 U.S.C. § 168ti(a)(1) of the
FCRA. |

70. TransUnion further possessed a duty to provide notification of said dispute to TD

Bank pursuant to its statutory duties contained within 15 U.S.C. § 1681i(a)(2) of the FCRA.

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71. Upon information and belief, TransUnion failed to conduct a reasonable
reinvestigation of the information and to provide notification of Amanda Pape-Cooper’s dispute
and thereby violated 15 U.S.C. § 1681i(a) of the FCRA. |

72. Upon information and belief, TransUnion failed to establish or follow reasonable
procedures to assure maximum possible accuracy concerning the alleged and disputed tradeline
following Amanda Pape-Cooper’s dispute. |

73. Upon information and belief, TransUnion failed to promptly and adequately
investigate the alleged and disputed information following Amanda Pape-Cooper’s dispute with
the alleged and disputed tradeline. |

74, TransUnion failed to note in the credit report that Amanda Pape-Cooper disputed
the accuracy of the information. See Exhibit “H”. |

75. Upon information and belief, TransUnion failed to take adequate steps to verify
information TransUnion had reason to believe was inaccurate before including it in Amanda Pape-
Cooper’s credit report. |

76. Upon information and belief, TransUnion possessed a duty to provide any and ail
documentation pertaining to Amanda Pape-Cooper’s dispute of the alleged tradeline and its failure
to do so violated 15 U.S.C. § 1681i(a) of the FCRA.

77. Upon information and belief, TransUnion failed to promptly provide all relevant
information regarding the dispute to TD Bank in violation of 15 U.S.C. § 1681 (i)(a).

78. Section 1681n(a) of the FCRA provides:

Any person who willfully fails to comply with any requirement
imposed under this subchapter with respect to any consumer is liable
to that consumer in an amount equal to the sum of--(1)(A) any actual
damages sustained by the consumer as a result of the failure or

damages of not less than $100 and not more than $1,000; or (B) in
the case of liability of a natural person for obtaining a consumer

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report under false pretenses or knowingly without a permissible
purpose, actual damages sustained by the consumer as a result of the
failure or $1,000, whichever is greater;

(2) such amount of punitive damages as the court may allow; and
(3) in the case of any successful action to enforce any liability under
this section, the costs of the action together with reasonable
attorney's fees as determined by the court.

 

15 U.S.C. § 1681n(a) of the FCRA,
79. Asa direct and proximate result of TransUnion’s violations of the FCRA, Amanda
Pape-Cooper has suffered annoyance, anxiety, embarrassment, emotional distress, and severe
inconvenience. |
WHEREFORE, Plaintiff, Amanda Pape-Cooper, respectfully requests that this Honorable
Court enter judgment in their favor and against Defendant, TransUnion, LLC, and enter an award
of monetary damages as described herein, including an award for actual damages, statutory
damages pursuant to 15 U.S.C. § 1681n(a), costs and attorney’s fees pursuant to I5 U.S.C, §

1681n(a), and such other and further relief as this Honorable Court deems just and proper.

JURY TRIAL DEMANDED UPON APPEAL OR REMOVAL.

Respectfully submitted,

J.P. WARD & ASSOCIATES, LLC

Date: May 24, 2021 By: JAE

JoshGa#” Ward (Pa. I.D. No. 320347)
Kyle H. Steenland (Pa. I.D. No. 327786)

 

J.P. Ward & Associates, LLC
The Rubicon Building

201 South Highland Avenue
Suite 201

Pittsburgh, PA 15206

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DR 07/27/2021 (003C47) 192.120611.11007932

Counsel for Plaintiff

 

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EXHIBIT A

 

 

 

 
 

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Magisterial District Judge 27-3-05 .
Docket Number: MJ-27305-CV-0000099-2019
Civil Docket
TD BANK USA N.A.
v.
Amanda R. Pape-Cooper
Page 1 of 2
cee Ta, : : . : CASE INFORMATION /
Judge Assigned: Magisterial District Judge Vacant MDJ File Date: 04/12/2019
27-3-05
Claim Amount: $2,517.96 Case Status: Closed
Judgment Amount: $2,655.71 County: Washington
ce poe ee CALENDAR EVENTS —
Case Calendar Schedule Schedule
Event Type Start Date Start Time Room Judge Name Status
Civil Action Hearing 05/15/2019 1:00 pm Magisterial District Judge David Continued
W. Mark
Civil Action Hearing 06/06/2019 = 11:15 am Magisterial District Judge David Scheduled
W. Mark
ees _— CASE PARTICIPANTS
Participant Type Participant Name Address
Defendant Pape-Cooper, Amanda R. Washington, PA 153011229
Plaintiff TD BANK USAN.A. Canonsburg, PA 15317
a nh eS _ DISPOSITION SUMMARY ude oe ||
Docket Number Plaintiff Defendant Disposition Disposition Date
MJ-27305-CV-0000099-2019 TD BANK USAN.A. Amanda R. Pape-Cooper Judgment for Plaintiff 06/06/2019
Pe eas ‘ vet, CIVIL DISPOSIT ION / JUDGMENT DETAILS : —
Disposition Date: 06/06/2019 Monthly Rent: $0.00
Joint/Several lodividual Net
Defendant(s) Plaintiff(s) Disposition Liability Léability Judgment
Amanda R. Pape-Cooper TD BANK USAN.A. Judgment for Plaintiff $0.00 $2,655.71 $2,655.71
Judgment Components:
Type Amount Deposit Amount Adjusted Amount
Civil Judgment $2,517.96 $0.00 $2,517.96
Filing Fees $137.75 $0.00 $137.75
* Is Joint/Several
MDJS 1200 Printed: 06/06/2019 4:24 pm

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the court wherein the record is maintained.

 

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Magisterial District Judge 27-3-05
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Docket Number: Mu-27305-CV-0000099-2019

Civil Docket

TD BANK USANA.
v

Amanda R. Pape-Cooper
Page 2 of 2

 

/ ATTORNEY INFORMATION
Private Private

 

 

Name: Gregg Lawrence Morris, Esq. Name: Bryan Jon Polas, Esq.
Representing: TD BANK USAN.A. Representing: TD BANK USAN.A.
Counsel Status; Active - Entry of Appearance Counsel Status: Active - Entry of Appearance
Supreme Court No.; 069006 Supreme Court No.: 322175 :
Phone No.: 412-429-7675 Phone No.: 412-429-7675
Address: Patenaude & Felix, A.P.C. Address: Patenaude & Felix, A.P.C.
501 Corporate Drive 501 Corporate Drive Suite 205
Suite 2015 Canonsburg, PA 15317
Canonsburg, PA 15317 Entry of Appearance Filed Dt: 04/12/2019
Entry of Appearance Filed Dt. 04/12/2019 Withdrawal of Entry of Appearance Filed Dt:

Withdrawal of Entry of Appearance Filed Dt:
Private

Name: Brian J. Fenters, Esq.

Representing: Pape-Cooper, Amanda R.
Counsel Status: Active - Entry of Appearance
Supreme Court No.: 320202

Phone No.; 412-545-3016

Address: The Law Firm of Fenters Ward
201 South Highland Ave Suite 201
Pittsburgh, PA 15206
Entry of Appearance Filed Dt: 05/09/2019

Withdrawal of Entry of Appearance Filed Dt:

 

 

    

oe See gtentisisneg ye wd DOCKET ENTRY INFORMATION Os
Filed Date Entry Filer Applies To
06/06/2019 Judgment for | Plaintiff _ Magisterial District Court 27-3-05 _ Amanda R. Pape-Cooper, Defendant_ _
06/06/2019 ~ Judgment Entered - ~ ~ Magisterial District Court 27-3-05 ~ “Amanda R. Pape-Cooper, Defendant —
96/05/3019  IntentioDefendFiled ~~ =—~—~S*S*S*S*S*~*«Sand RR. PapeCooper— "~~" “amanda R.Pape-Cooper, Defendant
06/09/2019 Entry ofAppearance Filed ~~—~===~=s~=«ianJ, Fenters,Esq. — “~~ “pmanda R. Pape-Cooper, Defendant
95/02/2019 Cerlifed Civil Complaint Accepted

   

~ Brian J. Fenters, Esq. “Amanda R. Pape-Cooper, Defendant

rtifiec Oo __ Magisterial District Court 27-305
04/18/2019 Certified Civil Complaint issued
04/12/2019 Entry of Appearance Filed

Amanda R. Pape-Cooper, Defendant ; 7
Amanda R. Pape-Cooper, Defendant
TD BANK USAN.A., Plaintiff

Magisterial District Court 27-3-05

! Gregg Lawrence Morris, Esq. _
04/12/2019 Civil Complaint Filed

TD BANK USANA,

 

MDJS 1200 Page 2 of 2 Printed: 06/06/2019 4:24 pm

Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial System of
the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assumes any liability for inaccurate or delayed data , errors or
omissions on these docket sheets. You should verify that the information is accurate and current by personally consulting the official record reposing in

the court wherein the record is maintained.

 

 

 

 
 

 

Case 2:21-cv-01027-PLD DOCUMENT 1-37 FIC USlOSt ZT Page LO UT

DR 07/27/2021 (00IC47) 196.120611.11007932

EXHIBIT B

 

 

 
 

 

 

| Set Page 21 of 47

DR 07/27/2021 (00IC47) 197.120611.11007932

THE LAW FIRM OF

 

JOBHUA WARD, Esa.

Gg FENTERS WARD BRIAN FENTERS, ESO,

ALM TO WHUIN |

MANAGING PARTNERS

201 SOUTH HIGHLAND AVE., SUITE 201 412-545-3016 OFFICE
PITTSBURGH, PA 15206 412-940-3399 FAX
May 8, 2019
TD Bank USA N.A.
%Gregg Lawrence Morris, Esq.
Patenaude & Felix APC

501 Corporate Drive
Southpointe Center Suite 205
Canonsburg, PA 15317

Sent via U.S. Mail

Re: Our Client: Amanda R. Pape-Cooper
Docket Number: MJ-27305-CV-0000099-2019
Account #’s: XXX

 

To Whom It May Concern:

Please accept this letter as confirmation of my representation of Amanda R. Pape-Cooper with a
current address of 1582 Hillcrest Ave., Washington, PA 15301. My representation of the above-
mentioned client includes any related debt(s) and/or credit account(s) your company claims to have, sold,
purchased and/or assigned from yourself, another creditor, debt buyer or other entity as of the date of this
letter (the “Debts”). Please cease and desist any further communications with my client as it relates to the
collection of Debts.

According to my client, your company has been reporting the above-referenced accounts to
collection and/or credit agencies. My client denies owing TD BANK USA N.A. any amount of money
and demands proof of liability, accounting and ownership of these alleged accounts. The proof shall
include any agreements and any amendments thereto, any other written or signed documents agreed to by
my client, as well as, a complete history of billing statements reflecting how you calculated the current
amount claimed, owed, reported to the collection and/or credit agencies and complete copies of any
assignment documentation evidencing your ownership rights to the specific accounts.

Pursuant to the Consumer Financial Protection Act (CFPA) 12 U.S.C. 5533(a) and the Fair Debt
Collection Practices Act (FDCPA) 15 U.S.C. § 1692 et seg. we request that you provide additional
documents related to the Debt you claim is owed by our client:

1. the original account-level documentation reflecting all purchases, payments, or other
actual uses of the account;

2. adocument signed by our client evidencing the opening of the account forming the basis
for the debt;

3. the name of the creditor at the time of charge-off, including the name under which the
creditor did business with our client;

 

 
 

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DR 07/27/2021 (001C47) 198.120611.11007932

4, the last four digits of the account number associated with the debt at the time our client’s
last monthly account statement, or, if not available, at the time of charge-off; the charge-
off balance;

5. TD BANK USAN.A. method of calculating any amount claimed in excess of the charge-
off balance;

6. acopy of the statement where TD BANK USA N.A, offered to provide our client (within
30 days of a written request) with copies of a document signed by our client evidencing
the opening of the account forming the basis for the debt; and the original account-level
documentation reflecting a purchase, payment, or other actual use of the account.

Please be advised that at all times relative hereto, we are disputing this debt under the FDCPA,
FCRA, FCEUA and/or the UTPCPL. AS SUCH YOU MUST 1) NOTIFY ANY CRAs YOU HAVE
FURNISHED INFORMATION TO THAT THIS TRADE LINE IS DISPUTED; 2) YOU MUST
CEASE ALL COLLECTION ATTEMPTS AND DELETE THE TRADE LINE UPON FINAL
DISMISSAL OF THE DEBT COLLECTION LAWSUIT IF JUDGMENT IS RENDERED IN
FAVOR OF DEFENDANT. You may direct the requested proof to my office at the address listed above.
YOU HAVE THIRTY (30) DAYS TO PROVIDE THE REQUESTED PROOFS. All future
correspondence or contact shall be directed to my office until my office provides written confirmation of
termination of legal representation, if such termination should ever occur. YOU MUST PROVIDE THIS
NOTICE TO ANY ASSIGNEE, TRANSFEREE OR SUBSEQUENT OWNER OF THIS OR ANY
DEBT. IF YOU FAIL IN ANY OF THESE REGARDS, YOU WILL BE SUBJECT TO
LIABILITY UNDER FEDERAL AND STATE CONSUMER PROTECTION LAWS,

Very Truly Yours,

/s/ Joshua P Ward. Esq. |

Joshua P. Ward, Esq.
Direct Dial: (412) 545-3015
Email: jward@fentersward.com

JPW/slk
cc: Amanda R. Pape-Cooper

 

 

 
 

21-CV-U10Z7-PLD Document 1-3 Filed 0s70s72zt Page 2s OT 4/

DR 07/27/2021 (003C47) 199.120611.11007932

Case 2

 

 

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Case ¢:21-Cv-O102/-PLD Document 1-3 Filed Os/03/21" Page 24 Of 47
DR 07/27/2021 (003C47) 200.120611.11007932

EXHIBIT C

 

 
 

 

Case 2:21-CV-ULl02/-FPLD Document 1-5 Fed Ud/Os/zl Fage 25 O14/
DR 07/27/2021 (00147) 201.120611.11007932

 

 

 

COMMONWEALTH OF PENNSYLVANIA ENTRY OF APPEARANCE
COUNTY OF Washington PURSUANT TO PARCPMDJ
207.1(A)
Mag. Dist. No: 27-3.95
MDJ Name: Vacant MDJ 27-3-05 TD Bank USA NA.

Address: 1929A: Route 519
Canonsburg, PA 15317

Telephone: (724) 746-1227

Amanda R. Pape-Coaper

 

 

 

Docket No: CV-099-2019
Case Filed: 04/12/19

TO THE MAGISTERIAL DISTRICT COURT:

Please enter my appearance on behalf of | defendant Amanda R. Pape-Cooper
In the above captioned matter.

Attorney Name: Brian J Fenters

Supreme Court of Pennsylvania Attorney Identification Number: 320202

 

Firm Name: The Law Firm of Fenters Ward

 

Address: 201 South Highland Ave., Suite 201

City, ST, Zip: __ Pittsburgh, PA_15206
Telephone Number: (412) 545-3016

| certify that this filing complies with the provisions of the Case Records Public Access Policy of the Unified Judicial System
of Pennsylvania that require filing confidential information and documents differently than non-confidential information and
documents.

 

WW Ex T Peatere 05/08/19
Signature of Applicant Date

 

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DR 07/27/2021 (00IC47) 202.120611.11007932

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Udost 2.21-CV-ULU2ZT-PLU VOUCUTTICMT L-o

THE LAW FIRM OF

FENTERS WARD a BRIAN FENTERS, Esq.

JOBHUA WARD, ESQ.
AIM TO WHEN

 

 

!
MANAGING PARTNERS

201 SOUTH HIGHLAND AVE., SUITE 201 412-545-3016 OFFICE
PITTSBURGH, PA 15206 412-540-3399 Fax

May 8, 2019

Magisterial District Number: 27-3-05
1929A; Route 519

Canonsburg, PA 15317

Phone: 724-746-1227

Sent via: Fax 724-746-3145

RE: CV-099-2019. TD Bank USA N.A. v Amanda R. Pape-Cooper

 

INTENT TO DEFEND NOTICE:

DEFENDANT INTENDS TO ENTER A DEFENSE. PLEASE CONSIDER THIS NOTICE PER
Pa. R. Civ. P. MAG DIST J RULE 305(4)(a).

PLEASE NOTIFY THE PLAINTIFF THAT DEFENDANT HAS ENTERED NOTICE TO
DEFEND PER Pa. R. Civ. P. MAG DIST J RULE 318.

ALSO, PLEASE UPDATE THE DOCKECT TO SHOW THAT DEFENDANT INTENDS TO
DEFEND AS WELL AS OUR ENTRY OF APPEARANCE.

Sincerely,

/s/ Brian Fenters

Brian J. Fenters, Esq.
bfenters@fentersward.com
PA Bar# 320202
412-545-3016

BF/slk

CC: Amanda R. Pape-Cooper

 

 

 
 

 

Case 2:21-cv-O102/-PLD Document 1l-s Filed 08/03/21T Page 27 of 47
DR 07/27/2021 (003C47) 203.120611.11007932

EXHIBIT D

 

 

 
 

DR 07/27/2021 (001C47) 204.120611.11007932

 

COMMONWEALTH OF PENNSYLVANIA NOTICE OF JUDGMENT/TRANSCRIPT

 

 

COUNTY OF WASHINGTON CIVIL CASE
|
Mag. Dist. No: MDJ-27-3-05 TD BANK USANA.
MDJ Name: Honorable Vacant MDJ 27-3-05 Vv.
Address: 1929-A Route 519 South Amanda R. Pape-Cooper

Canonsburg, PA 15317

 

 

 

Telephone: 724-746-1227

Brian J. Fenters, Esq.

The Law Firm of Fenters Ward
201 South Highland Ave Suite 201
Pittsburgh, PA 15206

 

Docket No: MJ-27305-CV-0000099-2019
Case Filed 4/12/2019

Disposition Summary (cc- Cross Complaint)

Docket No Plaintiff Defendant ‘Disposition Disposition Date
MJ-27305-CV-0000099-2019 TD BANK USAN.A. Amanda R. Pape-Cooper __ Judgment for Plaintiff 06/06/2019
Judgment Summary Ce ees viet oes vere eaten .
Amanda R. Pape-Cooper $0.00 $2,655.71 $2,655.71

TD BANK USAN.A. $0.00 $0.00 $0,00

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Judgment Finding (*Post Judgment)
In the matter of TD BANK USA N.A. vs. Amanda R. Pape-Cooper on Mu-27305-CV- 0000099-2019, on 6/06/2019 the judgment was
awarded as follows:

ment Componen JointSeveral Liability Individual Liability Deposit lied Amount
Civil Judgment 0.00 $2,517.96 $2,517.96
Filing Fees 0.00 $137:75 - $137.75

Grand Total: $2,655.71

 

Comments:

ANY PARTY HAS THE RIGHT TO APPEAL WITHIN 30 DAYS AFTER THE ENTRY OF JUDGMENT BY FILING A NOTICE OF APPEAL WITH THE
PROTHONOTARYIGLERK OF COURT OF COMMON PLEAS, CIVIL DIVISION. YOU MUST INCLUDE A COPY OF THIS NOTICE OF
JUDGMENT/TRANSCRIPT FORM WITH YOUR NOTICE OF APPEAL.

EXCEPT AS OTHERWISE PROVIDED IN THE RULES OF CIVIL PROCEDURE FOR MAGISTERIAL DISTRICT JUDGES, IF THE JUDGMENT
HOLDER ELECTS TO ENTER THE JUDGMENT IN THE COURT OF COMMON PLEAS, ALL FURTHER PROCESS MUST COME FROM THE COURT
OF COMMON PLEAS AND NO FURTHER PROCESS MAY BE JSSUED BY THE MAGISTERIAL DISTRICT JUDGE.

UNLESS THE JUDGMENT IS ENTERED IN THE COURT OF COMMON PLEAS, ANYONE INTERESTED IN THE JUDGMENT MAY FILE A
REQUEST FOR ENTRY OF SATISFACTION WITH THE MAGISTERIAL DISTRICT JUDGE IF THE JUDGMENT DEBTOR PAYS IN FULL, SETTLES, OR
OTHERWISE COMPLIES WITH THE JUDGMENT.

D | Magisterial District Judge ~

ate

 

 

| certify that this is a true and correct copy of the record of the proceedings containing the judgment.”

 

 

 

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Date Magisterial District Judge JUN 07 20
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Printed: 06/06/2019 1431:16AM ) =a 1 pa Ff vevcw.pacour 4 2288790

 

 
 

DR 07/27/2021 (003C47) 205.120611.11007932

 

TD BANK USAN.A. Docket No.: MJ-27305-CV-0000099-2019

Vv.
Amanda R. Pape-Cooper

Participant List

Private(s)

Brian J. Fenters, Esq,

The Law Firm of Fenters Ward
201 South Highland Ave Suite 201
Pittsburgh. PA 15206

Gregg Lawrence Morris, Esa.
Patenaude & Felix, A.P.C.
501 Corporate Drive

Suite 2015

Canonsburg, PA 15317

Bryan Jon Polas, Esq.
Patenaude & Felix, A.P.C.
501 Corporate Drive Suite 205
Canonsburg, PA 15317

Plaintiff{s)

TB BANK USAN.A.

C/O Patenaude & Felix, A.P.C.

501 Coroporate Drive, Southpoint Center Suite 205
Canonsburg, PA 15317

Defendant(s}
Amanda R. Pape-Cooper

1585 Hillcrest Ave
Washington, PA 153041229

 

 

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Case 2:21-cv-01027-PLD Document 1-3 Filed 08/03/21 Page 30 of 47
pR 07/27/2021 (003C47) 206.120611.11007932

EXHIBIT E

 

 
 

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DR 07/27/2021 (003C47) 207.120611.11007932

COMMONWEALTH OF PENNSYLVANIA

 

 

 

COURT OF COMMON PLEAS

Judicial District, County Of

27 WASHINGTON

 

Page st ura?
: a
JOY S. RANKO
A TRUE Copy
NOTICE OF APPEAL PROTHONOTARY
| “{0~ 14

FROM
MAGISTERIAL DISTRICT JUDGE JUDGMENT

 

 

COMMON PLEAS No. 019 ~ 27S

NOTICE OF APPEAL

Notice is given that the appellant has filed in the above Court of Common Pleas an appeal from the judgment rendered by the Magisterial District

Judge on the date and in the case referenced below.

 

‘NAME OF APPELLANT
Amanda R. Pape-Cooper

MAG. DIST NO
27-3-05

 

NAME OF MDJ
Honorable Vacant MDJ

 

 

“ROORESS OF APPELLANT
1585 Hillcrest Avenue

Cry

Washington

ZIP CODE
15301-1229

STATE

PA

 

DATE OF SUSGMERT TE RSE OF Ta
06/06/2019 TD Bank USA, N.A.

 

 

DOCKET No

MJ-27305-CV-0000099-2019

Terendany
“ Amanda R. Pape-Cooper

IGNATURE OF APPEL! ATTORNEY OR AGENT

Nye

 

   
   

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This block wifi be signed ONLY when this notation is required under Pa.
R.C.P.M.D.J. No. 1008.

This Notice of Appeal, when received by ihe Magisterial District Judge, will
operate as a SUPERSEDEAS to the judgment for possession in this case.

 

Sagnature of Prothonotary or Deputy

if appeflant was Claimant (see Pa. R.C.P.MD.J. No. 1001(6) in
action

before a Magisterial District Judge, A COMPLAINT MUST BE FILED
within twenty

(20} days after filing the NOTICE of APPEAL.

 

 

 

PRAEGIPE TO ENTER RULE TO FILE COMPLAINT AND RULE TO FILE
(This section of form to be used ONLY when appellant was DEFENDANT (see Pa.R.C.P.M.D.J. No. 1001(7) in action before
Magistenal District Judge. IF NOT USED, detach from copy of notice of appeal ta be served upon appellee.

PRAECIPE: To Prothonotary

Enter rule upon

TD Bank USA, N.A.

Name of appeliee(s)

(Common Pleas No. oold - 214 Ss

 

RULE: To TD Bank USA, N.A.

Name of appeliae(s)

 

(1) You are notified that a rule is hereby entered upon you to file a complaint in this appeal within twenty (20) days after the date of service

of this rufe upon you by personal service or by certified or registered mail.

(2) If you do not file a complaint within this time, a JUDGMENT OF NON PROS MAY BE ENTERED AGAINST YOU.

(3) The date of service of this rule if service was by mail is the date of the mailing

patelolO 2014

 

YOU MUST INCLUDE A COPY OF THE NOTICE OF JUDGMENT/TRANSCRIPT FORM WITH THIS NOTICE OF APPEAL.
The appellee and the magisterial district judge in whose office the judgment was rendered must be served with a copy of this Notice

pursuant to Pa.R.C.P.M.D.J. 1005(A).

AOPC 312-05

} within twenty (20) days after service of rule or suffer entry of judgment of non pros.

. appellee(s)

appetlee(s), to file a complaint in this appeal

SA Rn

Signature of appellant or attomey or agent

     
 
  

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bhotery or Deputy

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11 JUN 2019

 

 

 

 
 

‘DR 07/27/2021 (001¢47) 208.120611.11007932 '

Case 2:21-cv-01027-PLD Document1-3 Filed 08/03/21 Page 32 of 47

 

 

 

 

 

COMMONWEALTH OF PENNSYLVANIA as $1 RANHO
NOTICE OF APPEAL
COURT OF COMMON PLEAS | PROTHONGT
Judicial District, County of FROM | @-lO~tF
27. + WASHINGTON MAGISTERIAL DISTRICT JUDGE JUDGMENT
COMMON PLEAS No. GIF - 7 9.S—
NOTICE OF APPEAL

Notice is given that the appellant has filed in the above Court of Common Pleas an appeal from the judgment rendered by the Magisterial District
Judge on the date and in the case referenced below.

 

 

 

 

 

NAME OF APPELLANT MAG DIST NO NAME OF MD)
Amanda R. Pape-Cooper 27-3-05 Honorable Vacant MDJ
“KDORESS OF APPELLANT City STATE ZIP COOE
1585 Hillcrest Avenue Washington PA 15301-1229
DATE OF JUGGMENT "TIN TRE CASE OF TIGA Tekenaant
06/06/2019 TO Bank USA, NA. Amanda R. Pape-Cooper

 

 

 

DOCKET Na. LANT OR ATFORN AGENT

MJ-27305-CV-0000099-2019 SN i é..

This block will be signed ONLY when this notation is required under Pa. | If appellant was Claimant (see Pa. R.C.P.M.0.4. No. 1001(6) in

 

 

R.C.P.M.0.0. No. 1008. action
This Notice of Appeal, when received by the Magisterial District Judge, will | before a Magistenal District Judge, A COMPLAINT MUST BE FILED
operate as a SUPERSEDEAS te the judgment for possession in this case. within twenty

(20) days after filing the NOTICE of APPEAL.

 

 

Sugnature of Prothonotary or Deputy

 

 

PRAECIPE TO ENTER RULE TO FILE COMPLAINT AND RULE TO FILE
(This section of form to be used ONLY when appellant was DEFENDANT (see Pa.R.C.P.M.D.J. No. 1001(7) in action before
Magisterial District Judge. IF NOT USED, detach from copy of notice of appeal to be served upon appeiige.
|

PRAECIPE: To Prothonotary

 

 

Enter rule upon TD Bank USA N.A appeilea(s}, to file a complaint in this appeal
Name of appeilee({s)
(Common Pleas No. OQ ~- o19 S ) within twenty (20) days after service of rule or suffer entry of judgment of non pros.

 

SA UZ.

Signature of appellant or attorney or agent

RULE: To TD Bank USA, NA. . appellee(s)

Name of appellees)

 

(1) You are notified that a rule is hereby entered upon you to file 2 complaint in this appeal within twenty (20) days after the date of service
of this rule upon you by personal service or by certified or registered mail.

(2) !f you do not fite a complaint within this ime, a JUDGMENT OF NON PROS MAY BE ENTERED AGAINST YOU.
(3) The date of service of this rule if service was by mail is the date of the mailing.

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Signature pf P; or Deputy
JOY SSHURY RANKO, PROTH NOTARY

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YOU MUST INCLUDE A COPY OF THE NOTICE OF JUDGMENT/T RANAG RET Etopie aint MASSALTICE BP Ke
The appellee and the magisterial district judge in whose office the judgment was rendered must be served with a copy of this Notice
pursuant to Pa.R.C.P.M.D.J. 1005(A),.
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AOPC 312-05

 

 
 

DR 07/27/2021 (003C47) 209.120611.11007932

 

 

 

 

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Judicial District, County Of FROM toned
27 WASHINGTON MAGISTERIAL DISTRICT JUDGE JUDGMENT
COMMON PLEAS No. DOIG- O77 Ss

 

NOTICE OF APPEAL

Notice is given that the appellant has filed in the above Court of Common Pleas an appeal! from the judgment rendered by the Magisterial District
Judge on the date and in the case referenced below.

 

 

 

 

NAME OF APPELLANT MAG Dist NO NAME OF MDJ
Amanda R. Pape-Cooper 27-3-05 Honorable Vacant MDJ
“KODRESS OF APPELLANT Cit¥ STATE TIP CODE
1585 Hillcrest Avenue Washington PA 15301-1229
DATEOE SUDQMENT INTE CREE OF Pray —Toekidarh

 

 

 

 

06/06/2019 TD Bank USA, N.A. “ Amanda R. Pape-Cooper
DOCKET Ne. IGNATURE OF A LU OR ATIORN

MJ-27305-CV-0000099-2019 SA A i
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This block will be signed ONLY when this notation is required under Pa. | If appellant was Claimant (see Pa. R.C.P.MD.J. No. 1001(6) in

 

 

R.C.P.M.D.J, No. 1008. action
This Notice of Appeal, when received by the Magisterial District Judge, will | before a Magisterial District Judge, A COMPLAINT MUST BE FILED
operate as a SUPERSEDEAS te the judgment for possession In this case. within twenly

(20) days after filing the NOTICE of APPEAL. |

 

Signature of Prothonotary oc Deputy

 

 

 

 

PRAECIPE TO ENTER RULE TO FILE COMPLAINT AND RULE TO FILE
(This section of form to be used ONLY when appellant was DEFENDANT (see Pa.R.C.P.M.D.J. No, 1001(7) in action before
Magisterial District Judge. IF NOT USED, detach from copy of notice of appeal to be served upon appellee.

PRAECIPE: To Prothonotary

 

Enter rule upon TD Bank USA. NA appellee(s), to file a compiaintin this appeal
Name of appelies(s)
(Common Pleas No. QoLF - 2X19 S ) within twenty (20) days after service of rule or suffer entry of judgment of non pros.

 

\Av bee.

Signature of appeliant or attorney or agent

RULE: To TD Bank USA, N.A. , appellee(s)

Nama of appellee(s)

 

(1) You are notified that a rule is hereby entered upon you to file a complaint in this appeal within twenty (20} days after the date of service
of this rule upon you by personal service or by certified or registered mail.

(2) If you do not file a complaint within this time, a JUDGMENT OF NON PROS MAY BE ENTERED AGAINST YOU.

(3) The date of service of this rule if service was by mail is the date of the mailing
Date (~W 20 | C

 

JOY SU : , in January,
Term Expires First day

YOU MUST INCLUDE A COPY OF THE NOTICE OF JUDGMENT/TRANSG IPT FORM WITH THIS NOTICE OF APPEAL.

The appellee and the magisterial district judge in whose office the judgment was renderad must be served with a copy of this Natice

pursuant to Pa.R.C.P.M.D.J. 1005{A).

 
  

AOPC 312-05

11 JUN 2019
BY.......

    

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DR 07/27/2021 (00IC47) 210.120611.11007932 . . . Soap

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JOY
COMMONWEALTH OF PENNSYLVANIA ATRUE OS
COURT OF COMMON PLEAS NOTICE OF APPEAL PROTMONOT Aggy
o~lo~tF
Judicial District, County Of FROM
27 WASHINGTON MAGISTERIAL DISTRICT JUDGE JUDGMENT
COMMON PLEAS No. QU4-2 795,
NOTICE OF APPEAL

Notice is given that the appellant has filed in the above Court of Common Pieas an appeal from the judgment rendered by the Magisterial District
Judge on the date and in the case referenced below.

 

 

 

 

 

“NAME OF APPELLANT MAG DIST. NO NAME OF MOd
Amanda R. Pape-Cooper 27-3-05 Honorable Vacant MDJ
“AODRESS OF APPELLANT CHY STATE ~ZiP CODE
1585 Hilicrest Avenue Washington PA 15301-1229
DATE OF JUGGMENT lan Toman

 

 

06/06/2019 TD Bank USA, N.A. “ Amanda R. Pape-Cooper
DOCKET No i UR A LL A NEY OR AT

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MJ-27305-CV-0000099-2019 NEA J E
Apr

This block will be signed ONLY when this notation is required under Pa. | If appeifant was Claimant (see Pa. R.C.P.MD.J. No. 1001(6) in

 

 

R.C.P.M.D.J. No. 1008, action
This Notice of Appeal, when received by the Magisterial District Judge, will | before a Magisterial District Judge, A COMPLAINT MUST BE FILED
operate as a SUPERSEDEAS to the judgment for possession in thls case. within twenty

(20) days after filing the NOTICE of APPEAL.

 

Signature of Prothonotary or Deputy

 

 

 

PRAECIPE TO ENTER RULE TO FILE COMPLAINT AND RULE TO FILE
{This section of farm to be used ONLY whan appellant was DEFENDANT (see Pa.R.C.P.M.D.J. No. 1001(7) in action before
Magisterial District Judge. IF NOT USED, detach from copy of notice of appeal ta be served upon appellee.

PRAECIPE: To Prothonotary

Enter rule upon TD Bank USA, N.A. appellea(s), ta file a complaint in this appeal

 

Name of appeliee(s}
({Gommon Pleas No. aos ~ ST qS ) within twenty (20) days after service of rule or suffer entry of judgment of nan pros.

 

SK ME.

Signature of appellant or attorney or agent

RULE: Toa TD Bank USA, N.A. , appetlea(s}

Name of appellea(s)

(1) You are notified that a rule is hereby entered upon you to file a compiaint in this appeal within twenty (20) days after the date of service
of this rule upon you by personai service or by certified or registered mail

(2) If you do not file a compiaint within this time, a JUOGMENT OF NON PROS MAY BE ENTERED AGAINST YOU.

   

(3) The date of service of this rule if service was by mai} is the date of the mailing
AY Deputy

patele~ lo 2014
in January, 2020

st Monda
YOU MUST INCLUDE A COPY OF THE NOTICE OF JUDGMENTITRANSORIESE BERN YTS +h 3 NOVICE OF APPEAL.
The appellee and the magisterial district judge in whose office the judgment was rendered must be served with a copy of this Notice

pursuant to Pa.R C.P.M.D.J. 1008(A).

   
 

 

 
 

11 JUN 2019

BY. 4A

AOPC 312-05

  

 

 

 
 

DR 07/27/2021 (003C47) 211.120611.11007932

 

EXHIBIT F

 

 

 
 

 

DR 07/27/2021 (003C47) 212.120611.11007932

IN THE COURT OF COMMON PLEAS OF WASHINGTON COUNTY,
PENNSYLVANIA

TD BANK USA, N.A., CIVIL DIVISION
Plaintiff, 2019-2795

VS.

 

AMANDA R. PAPE-COOPER, PRAECIPE TO DISMISS CASE
WITH PREJUDICE
Defendant.

Filed on Behalf of Defendant:
Amanda R. Pape-Cooper

 

Counsel of Record for This Party:

THE LAW FIRM OF FENTERS WARD

Joshua P. Ward
Pa. ILD. No. 320347

The Rubicon Building

201 South Highland Avenue
Suite 201

Pittsburgh, PA 15206

 

Telephone No.: 412-545 - 3016
Fax No.: 412 ~ 540 ~ 3399
E-mail: bfenters@¥FentersWard.com

FILED

MAY 19 2020

L.A. OLS
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DR 07/27/2021 (003C47) 213.120611.11007932

OFFICE OF
PROTHONOTARY OF WASHINGTON CouNTY

WASHINGTON, PA 15301

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DATE TRANS:

 

 

 

 

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DR 07/27/2021 (001C47) 214.120611.11007932

CONFIDENTIAL
DOCUMENT FORM

 

204 Pa. Code § 213.81
www.pacourts.us/public-records

 

Case Records Public Access Policy of the Unified Judicial System of Pennsylvania

 

 

 

 

This form is associated with the pleading titled Complaint

any additional pages must be served on all unrepresented parties and counsel of record.

AMANDA PAPE-COOPER AR-21-
(Party name as displayed in case caption) Docket/Case No.
Vs.
T.D. BANK USA, N.A. and TRANSUNION, LLC Common Pleas Allegheny
(Party name as displayed in case caption) Court

, dated May 24

 

2021.

Pursuant to the Case Records Public Access Policy of the Unified Judicial System of Pennsylvania, the Confidential Document Form shall
accompany a filing where a confidential document is required by law, ordered by the court, or is otherwise necessary to effect the
disposition of a matter. This form shall be accessible to the public, however the documents attached shall not be publicly accessible,
except as ordered by a court. The documents attached will be available to the parties, counsel of record, the court, and the custodian.
Please only attach documents necessary for the purposes of this case. Complete the entire form and check all that apply. This form and

 

Type of Confidential Document

Paragraph, page, etc. where the confidential
document is referenced in the filing:

 

 

[x] Financial Source Documents
([] Tax Returns and schedules

 

W-2 forms and schedules including 1099 forms or similar documents

 

Wage stubs, earning statements, or other similar documents

 

 

 

 

 

<j Credit card statements Exhibit G, H

X] Financial institution statements (e.g., investment/bank statements) Exhibit G, H
Check registers

[_] Checks or equivalent

 

 

Loan application documents

 

Minors’ educational records

 

[_] Medical/Psychological records

 

|_| Children and Youth Services’ records

 

[| Marital Property Inventory and Pre-Trial Statement as provided in Pa.R.C.P. No. 1920.33

 

 

 

Income and Expense Statement as provided in Pa.R.C.P. No. 1910.27(c)

 

[_} Agreements between the parties as used in 23 Pa.C.S. §3105

 

 

 

I certify that this filing complies with the provisions of the Case Records Public Access Policy of the Unified
Judicial System of Pennsylvania that require filing confidential information and documents differently than non-

confidential information and documents.

05/24/21
Date

/s/ Joshua P. Ward
Signature of Attorney or Unrepresented Party

 

 

Name: Joshua P. Ward

 

Address: 201 South Highland Avenue, Suite 201

 

Pittsburgh, PA 15206

 

Rev. 7/2018

Attorney Number: (if applicable) 320347
Telephone: (412) 545-3015

Email: Jward@jpward.com

 

 

 

 
 

DR 07/27/2021 (003C47) 215.120611.11007932

IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

Plaintiff,
VS.

T.D. BANK USA, N.A.,
Defendant,

and,

TRANSUNION, LLC,

Defendant.

 

AMANDA PAPE-COOPER,

CIVIL DIVISION |

ELECTRONICALLY FILED

Case No. AR-21-

CONFIDENTIAL EXHIBIT TO

COMPLAINT IN CIVIL ACTION

EXHIBIT G, H

Filed on Behalf of Plaintiff:
Amanda Pape-Cooper

Counsel of Record for this Party:
J.P. WARD & ASSOCIATES, LLC

Joshua P. Ward
Pa. 1.D. No. 320347

J.P. WARD & ASSOCIATES, LLC
The Rubicon Building

201 South Highland Avenue
Suite 201

Pittsburgh, PA 15206

Telephone: (412) 545-3015
Fax No.: (412) 540-3399
E-mail: jward@jpward.com

 

 
 

 

Case Z2:Z1-CV-U10Z7-PLD__Document 1-3 Fied 08/0sf2t- Page 40 of 417—_——

DR 07/27/2021 (003C47) 216.120611.11007932

 

EXHIBIT G

 

 
 

 

DR 07/27/2021 (003C47) 217.120611.11007932

OG

THE LAW FIRM OF

 

FENTERS WARD : BRIAN FENTERS, ESQ.

JOSHUA WARD, ESQ.

AIM TO WIN

201 SOUTH HIGHLAND AVE., SUITE 201 412545-3016 OFFICE
PITTSBURGH, PA 15206 412-540-3399
MAY 28, 2020
SENT VIA FIRST CLASS MAIL,
EQUIFAX

P.O. Box 740241
ATLANTA, GA 30374

RE: FCRA— NOTICE OF DISPUTED TRADE LINE« 15 U.S.C.A. 16811 (A)(2).
NAME: AMANDA PAPE-COOPER
ADDRESS: 1585 HILLCREST STREET
WASHINGTON, PA 15301

  

Pas a faws Z iO es as
FURNISHER: TD BANK USA, TARGET CREDIT CARD

 

TO WHOM IT MAY CONCERN:

PLEASE BE ADVISED THAT THE LAW FIRM OF FENTERS WARD REPRESENTS THE
ABOVE-NAMED CLIENT, AS ATTORNEY-IN-FACT, AND DULY AUTHORIZED AGENT, WITH
RESPECT TO A DEBT-COLLECTION LAWSUIT. THIS LETTER SHALL SERVE AS FORMAL
NOTIFICATION OF THE CONSUMER’S DISPUTE OF THE ASSOCIATED TRADE LINE
REFERENCED IN THE SUBJECT LINE HEREINABOVE,

WE HAVE NOTIFIED THE CREDITOR AND/OR FURNISHER OF THIS DISPUTE NOTICE,
AND HAVE DISPUTED THE VALIDITY OF THE OBLIGATION IN ITS ENTIRETY WITH THE
FURNISHER/CREDITOR.

AS A CREDIT REPORTING AGENCY, YOU MUST AGAIN NOTIFY THE FURNISHER OF THE
DISPUTE. BE ADVISED THAT WE EXPECT TO PREVAIL IN THE UNDERLYING LAWSUIT, AND
OBTAIN A FINAL COURT ORDER RENDERING THE ALLEGED OBLIGATION UNENFORCEABLE,
INVALID, AND NON-EXISTENT. THEREFORE, THE FURNISHER HAS A DUTY TO REMOVE THE
TRADE LINE FROM OUR CLIENT'S CREDIT REPORT AT THAT TIME. SHOULD THE FURNISHER
FAIL. TO REMOVE THE TRADE LINE, WE WILL FILE A CIVIL LAWSUIT AGAINST THE FURNISHER,
PURSUANT TO 15 U.S.C.A. §§ 1681S—2(8), 1681(N) AND (©).

KINDLY NOTIFY THE FURNISHER OF THE CONSUMER'S DISPUTE PURSUANT TO 15
U.S.C.A. 168 11(A)(2), THANK YOU FOR YOUR ANTICIPATED COOPERATION IN THIS MATTER.

VERY TRULY YOURS,
/8/ JOSHUA P WARD, ESQ.
JOSHUA P. WARD, ESQUIRE

JWARD@FENTERSWARD.COM
(412) 545-3015

JPW/CAF

MANAGING PARTNERS

 

 
 

 

DR 07/27/2021 (003C47) 218.120611.11007932

THE LAW FIRM OF vores

Gg FENTERS WARD BRIAN FENTERS, ESQ.

JOSHUA WARD. ESQ.
ALM TO win

MANAGING PARTNERS

201 SOUTH HIGHLAND AVE., SUITE 201 412-545-3016 OFFICE
PITTSBURGH, PA 15206 4125403399 FAX

May 28, 2020
SENT VIA FIRST CLASS MAIL.

EXPERIAN
P.O. Box 2002
ALLEN, TX 75013

RE: FCRA— NOTICE OF DISPUTED TRADE LINE- 15U.S.C.A. 16811 (A)(2).
NAME: AMANDA PAPE-COOPER
ADDRESS: 1585 HILLCREST STREET
WASHINGTON, PA 15301

   

ACCOUNT No: as
FURNISHER: TD BANK USA, TARGET CREDIT CARD

 

TO WHOM IT MAY CONCERN:

PLEASE BE ADVISED THAT THE LAW FIRM OF FENTERS WARD REPRESENTS THE
ABOVE-NAMED CLIENT, AS ATTORNEY-IN-FACT, AND DULY AUTHORIZED AGENT, WITH
RESPECT TO A DEBT-COLLECTION LAWSUIT. THIS LETTER SHALL SERVE AS FORMAL
NOTIFICATION OF THE CONSUMER’S DISPUTE OF THE ASSOCIATED TRADE LINE
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WE. HAVE NOTIFIED THE CREDITOR AND/OR FURNISHER OF THIS DISPUTE NOTICE,
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PURSUANT TO 15 U.S.C.A. §§ 16815-2(B), 1681(N) AND (0).

KINDLY NOTIFY THE FURNISHER OF THE CONSUMER'S DISPUTE PURSUANT TO 15
U.S.C.A. 16811 (A)(2). THANK YOU FOR YOUR ANTICIPATED COOPERATION IN THIS MATTER.

VERY TRULY YOURS,

S72 JOSHUA P WARD, Esa.

JOSHUA P, WARD, ESQUIRE
JWARD@FENTERSWARD.COM
(412) 5453015
JPW/MAF

 

 
DR 07/27/2021 (003C47) 219.120611.11007932

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FENTERS WARD BRIAN FENTERS, ESQ.

JOSHUA WARD, ESQ.

AIM TO WIN

MANAGING PARTNERS
201 SOUTH HIGHLAND AVE., SUITE 201 412-545-3016 OFFICE
FAX

PITTSBURGH, PA 15206 412-540-3399

May 28, 2020
SENT VIA FIRST CLASS MAIL

TRANSUNION
P.O. Box 1000
CHESTER, PA 19022

RE. FCRA— NOTICE OF DISPUTED TRADE UINE- 15U.S.C.A. 16811 (A).
NAME: AMANDA PAPE-COOPER
ADDRESS: 1585 HILLCREST STREET

WASHINGTON. PA 15301

  
 

EURNISHER: TD BANK LISA, TARGET CREDIT CARD

 

To WHOM IT MAY CONCERN:

PLEASE BE ADVISED THAT THE LAW FIRM OF FENTERS WARD REPRESENTS THE
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REFERENCED IN THE SUBJECT LINE HEREINABOVE.

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PURSUANT TO 15U.S.C.A. §§ 1681 S-2(B), 1681 (N) AND (0).

KINDLY NOTIFY THE FURNISHER OF THE CONSUMER'S DISPUTE PURSUANT TO 15
U.S.C.A. 168 11 (A)(2). THANK YOU FOR YOUR ANTICIPATED COOPERATION IN THIS MATTER.

VERY TRULY YOURS,
/S/ JOSHUA P WARD. ESQ.
JOSHUA P. WARD, ESQUIRE

JWARD@FENTERSWARD.COM
(412) 545-3015

 
 

 

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DR 07/27/2021 (003C47) 221.120611.11007932

 

EXHIBIT H

 

 
 

 

 

 
 
 

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Page: 6of 15

TD BANK USA/TARGET CRED

Date Opened: 07/29/2015 e Updated: 06/27/2020
Responsibility: Individual Account Payment Received: $0

Account Type: Revolving Account Last Payment Made: 04/ 20/2018
Loan Type: CREDIT CARO Original Charge-off: $2,517

High Balance: High balance of $2,517 from 05/2020 to 06/2020
Credit Umit: Credit limit of $2,000 from 05/2020 to 06/2020

* (NCD-0450, PO BOX 1470,

File Number; 329377225 Date Issued: 07/02/2020

MINNEAPOLIS, MN 55440, Phone number not available )
Pay Status: sCharged Offs
Terms: Paid Monthly
Date Closed: 11/26/2018
»Maximnum Delinquency of 120 days in 09/2018
and in 10/2018«

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
 

 

 

 

     

 

 

 

 

 

 

 

 

  

 

  
  
 

 

 

 

 

 

 

 

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To dispute online go to: http://tr

ansunion.com/ disputeonline

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DR O//27/2021 (00347) 223.120611.11007932

VERIFICATION

TT

I, JOSHUA P. WARD, ESQ., have read the foregoing COMPLAINT and verify that the
statements therein are correct to the best of my personal knowledge, information, and/or belief. I
have gained this information from discussions with Plaintiff. This verification is made on behalf
of Plaintiff. Plaintiff will produce their verification if/when there is an objection by Defendant or

upon directive from the court.

I understand that this verification is made subject to the penalties of 18 Pa. C.S.A. 4904
relating to unsworn falsification to authorities, which provides that if 1 knowingly make false

averments, I may be subject to criminal penalties.

Respectfully submitted,

J.P. WARD & ASSOCIATES, LLC

BK

 

Date: May 24, 2021 By:

 

 

Joshua P. Ward (Pa. I.D. No. 320347)
Kyle H. Steenland (Pa. LD. No. 327786)

J.P. Ward & Associates, LLC
The Rubicon Building
201 South Highland Avenue
Suite 20]

Pittsburgh, PA 15206

Counsel for Plaintiff

 

 
